Case 2:19-cv- -
cv-10766-GGG-MBN Document 105-4 Filed 04/20/20 Page 1 of 7

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

SHANNON REEVES CIVIL ACTION NO. 19-10766

VERSUS SECTION “T”
JUDGE GUIDRY
MAGISTRATE DIVISION 5
MAGISTRATE JUDGE NORTH

CITY OF NEW ORLEANS;

RHETT CHARLES,

JENERIO SANDERS;

PAUL NOEL;

RANNIE MUSHATT;

WALTER POWERS;

ARLINDA WESTBROOK;

RAYMOND BURKART, SR.;

AND

MICHAEL HARRISON

BURKART’S, REQUEST FOR ADMISSIONS

TO: KIM M. BOYLE, BRANDON E. DAVIS, REBECCA SHA, PHELPS
DUNBAR, LLP, 365 CANAL STREET, SUITE 2000, NEW ORLEANS,
LOUISIANA 70130-6534, AS ATTORNEY OF RECORD FOR THE CITY OF
NEW ORLEANS.

Plaintiff, Shannon Reeves, submits the following Responses to Defendant, Raymond

Burkart’s, Request for Admissions of Fact.

iL. Admit or deny your termination was not the result of disciplinary action taken by
defendant Burkart.

Plaintiff submits that she is unable to answer this admission, but subject thereto
and out of an abundance of caution, this Request is DENIED. Plaintiff submits that this Request
does not define the term “disciplinary action.” However, if this request seeks to establish

whether Plaintiff contends that Defendant Burkart had complained of misconduct by the

 
Case 2:19-cv-10766-GGG-MBN Document 105-4 Filed 04/20/20 Page 2 of 7

Plaintiff, formally and in writing, and that Plaintiff was thereafter subject to a formal and
documented investigation, and subsequently found to have committed the misconduct of which
Burkart had complained, and as discipline for that misconduct Defendant Burkart imposed the
sanction of termination then this Request is ADMITTED, within these limited parameters,
Plaintiff does not so contend. However, if this Request seeks to establish that the Department did
not seek to treat the Plaintiffs requests for accommodations as being subject to punitive action,
up to and including termination, then this request is DENIED.

Be Admit or deny Defendant Burkart was not authorized by the City of New Orleans,

Police Department to hire or fire you on the date you were terminated.

It is not possible for the Plaintiff to respond to this request as itis written. Subject to
objection, it was Plaintiffs understanding that she was not formally terminated unless and until
the Superintendent of the New Orleans Police Department approved and signed the letter
formally terminating Plaintiff's employment. Therefore, if this question seeks to establish
whether Plaintiff agrees that Defendant Burkart’s authority, in the context of termination of
Plaintiff's employment, was not congruent with that of the Superintendent, then the request is
ADMITTED, within these specific and limited parameters. However, insofar as this request
seeks to establish that Defendant Burkart had no part in termination of the Plaintiff's
employment, then this request is DENIED.

a Admit or deny at the time of your termination, you were not released by your health
care provider(s) to perform the job duties of a City of New Orleans Police Officer without
restrictions.

Plaintiff is unable to answer this request as written. Subject to objection, insofar as this
request seeks to establish that any “restrictions,” imposed by a health care provider, are

equivalent to a finding that an individual is “unable or unwilling” to do his or her job, and
Case 2:19-cv- -
V-10766-GGG-MBN Document 105-4 Filed 04/20/20 Page 3 of 7

therefore subject to termination under Civil Service rules, federal law notwithstanding, this

request is DENIED.

4. Admit or deny at the time of your termination, you were not released by your health

care provider(s) to perform the job duties of a City of New Orleans Police Officer without
restrictions.

Plaintiff is unable to answer this request as written. Subject to objection, insofar as this
request seeks to establish that any “restrictions,” imposed by a health care previtder, are
equivalent to a finding that an individual is unable to perform his or her job functions, and
therefore subject to termination under Civil Service rules, federal law notwithstanding, this
request is DENIED.

5. Admit or deny your termination was caused by your inability to perform duties
required of you as a New Orleans Police Officer without restriction(s).

DENIED.
6. Admit or deny your termination was not the result of disciplinary action taken by
defendant Burkart.

This is a repeat of Request No. 1, supra. Plaintiff submits that she is unable to answer
this admission, but subject thereto and out of an abundance of caution, this Request is DENIED.
Plaintiff submits that this Request does not define the term “disciplinary action.” However, if
this request seeks to establish whether Plaintiff contends that Defendant Burkart had complained
of misconduct by the Plaintiff, formally and in writing, and that Plaintiff was thereafter subject to
a formal and documented investigation, and subsequently found to have committed the
misconduct of which Burkart had complained, and as discipline for that misconduct Defendant
Burkart imposed the sanction of termination, then this Request is ADMITTED, within these

limited parameters, Plaintiff does not so contend. However, if this Request seeks to establish
Case 2:19-cv-10766-GGG-MBN Document 105-4 Filed 04/20/20 Page 4 of 7

that the Department did not seek to treat the Plaintiff's requests for accommodations as being
subject to punitive action, up to and including termination, then this request is DENIED.
le Admit or deny you were not the subject of a disciplinary investigation (commonly

referred to as a DI-1) by the Police Department at the time you received your letter of
termination.

This Request is DENIED for lack of sufficient information. Further, insofar as this
Request seeks to establish that the Department did not seek to treat the Plaintiff's requests for
accommodations as being subject to punitive action, up to and including termination, then this
request is further DENIED.

8. Admit or deny your termination was not the result of disciplinary action taken by the
Superintendent of Police.

This Request is a substantive repeat of Requests No. | and 6, supra. Plaintiff submits
that she is unable to answer this admission, but subject thereto and out of an abundance of
caution, this Request is DENIED. Plaintiff submits that this Request does not define the term
“disciplinary action.” However, if this request seeks to establish whether Plaintiff contends that
the Superintendent of Police terminated the Plaintiff, in accordance with the Department’s
Disciplinary Matrix, as a penalty for a finding of misconduct by the Plaintiff, specifically as
listed in Department Policy as misconduct and subject to punitive action, having first been made
formally and in writing, and thereafter the subject of a formal and documented investigation,
which resulted in a finding of misconduct, and that the Superintendent then imposed discipline in
the specific form of termination — within these limited parameters, the Request is ADMITTED;
the Plaintiff does not so contend. However, if this Request seeks to establish that the Department
did not seek to treat the Plaintiffs requests for accommodations as being subject to punitive

action, up to and including termination, then this request is DENIED.
Case 2:19-cv- -
9-cv-10766-GGG-MBN Document 105-4 Filed 04/20/20 Page 5of 7

9. Admit or deny defendant Burkart, Jr. was not listed as a violating party in your EEOC or
ADA Complaints.

Plaintiff objects to this request on the basis of the fact that it does not seek information
relevant to any material fact, in the context of the Plaintiff's claims against this individual
Defendant. Subject to and without waiving that objection, insofar as this request seeks to
establish that a complainant’s failure to specifically list an individual Defendant by name in an
EEOC complaint renders said individual Defendant insusceptible of being individually named in
a subsequent suit, this request is DENIED. Further, insofar as this Request seeks to establish that
Defendant Burkart shares no responsibility in the violations mentioned in the EEOC complaint
and/or that he was therefore not on notice of the Plaintiff's claims against him, this Request is
DENIED. Finally, this Request is DENIED on the basis of Plaintiff's having specifically
described action taken by Defendant Burkart, in the written supplemental charge submitted to the

EEOC.

10. Admit or deny your administrative appeal in Case#t 8804 before the New Orleans Civil
Service Commission for reinstatement to the position of Police Officer was dismissed as a result
of you and your attorney's failure to appear for the hearing and prosecute your appeal on April

30, 2019.
This request is DENIED. Plaintiff's appeal was dismissed, on the request of counsel, due

to pending litigation.

11. Admit or deny you did not apply for employment with the City of New Orleans after your
termination by the Superintendent of Police.

DENIED.

 
Case 2:19-cv-10766-GGG-MBN Document 105-4 Filed 04/20/20 Page 6 of 7

DATE: April 6, 2020.
Respectfully submitted,

/s/ ElLyw). Clevenger

 

Wendy Manard (#29622)

Ellyn J. Clevenger (#32395)
Energy Centre: 1100 Poydras Street
Suite 2610

New Orleans, Louisiana 70163
Telephone: (504) 585-7777
Facsimile: (504) 556-2977

ATTORNEYS FOR THE PLAINTIFF
SHANNON REEVES
Case 2:19-cv-10766-GGG-MBN Document 105-4 Filed 04/20/20 Page 7 of 7

CERTIFICATE OF SERVICE

This is to certify Plaintiff's Responses to Defendant Burkart’s Requests for Admissions

of Fact were forwarded to counsel of record by electronic transmission, on this the 6m Day of

April, 2020, as follows:

KIM M. BOYLE
BRANDON E. DAVIS
REBECCA SHA
PHELPS DUNBAR, LLP
365 CANAL STREET, SUITE 2000
NEW ORLEANS, LOUISIANA 70130-6534
Kim.boyle@phelps.com

WILLIAM L. GOODE
THE GOODE LAW FIRM, LLC
P. O. BOX 3366
LAFAYETTE, LOUISIANA 70501
bill@goodelawyer.com

ERIC HESSLER
ATTORNEY AT LAW
2802 TULANE AVENUE
NEW ORLEANS, LOUISIANA 701 19
hessler.law@gmail.com

/s/ Ellyn). Clevenger

 

ELLYN JULIA CLEVENGER
